        Case 1:21-cr-00191-JEB Document 17 Filed 03/18/21 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   §
             Plaintiff,                     §
                                            §
vs.                                         § Case No. 1:21-CR-00191-JEB-1
                                            §
RYAN SCOTT ZINK,                            §
              Defendant.                    §



       NOTICE OF APPEARANCE AS COUNSEL FOR DEFENDANT

      NOW COMES Gerald H. Goldstein with the law firm of Goldstein & Orr and

notifies the Court that he has also been retained to represent the Defendant, RYAN

SCOTT ZINK, and requests all notices issued in the above cause.


                                     Respectfully submitted.

                                     GOLDSTEIN & ORR

                                     By: /s/ Gerald H. Goldstein
                                           Gerald H. Goldstein (Pro Hac Vice)
                                           Bar No. 08101000
                                           Cynthia E. Orr* (Pro Hac Vice)
                                           Bar No.15313350
                                           GOLDSTEIN& ORR
                                           310 S. St. Mary’s St.
                                           29th Fl. Tower Life Bldg.
                                           San Antonio, Texas 78205
                                           210-226-1463 phone
                                           210-226-8367 facsimile
                                           Email: whitecollarlaw@gmail.com
                                           Email: Gerrygoldsteinlaw@gmail.com
        Case 1:21-cr-00191-JEB Document 17 Filed 03/18/21 Page 2 of 2




                                      By:

                                             Nicholas D. Smith
                                             D.C. Bar No.1029802
                                             David B Smith PLLC
                                             7 East 20th St., Suite 4R
                                             New York, NY 10003
                                             Telephone: 917-902-3869
                                             E-mail: nds@davidbsmithpllc.com

                                             Attorneys for Defendant,
                                             RYAN SCOTT ZINK
                                             *Lead Counsel



                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing has

been electronically delivered to Assistant United States Attorney Janani Iyengar, as

a registered participant to the CM/ECF document filing system, on this the 18th day

of March 2021.



                                      By:    /s/ Cynthia E. Orr
                                             Cynthia E. Orr
